Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 1 of 37

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

PERTAINS TO: 05-4181 O’Dwyer

In Re: KATRINA CANAL BREACHES CIVIL ACTION NO. 05-4182
CONSOLIDATED LITIGATION
SECTION “Kk”
MAGISTRATE (2)
05-6073 Kirsch JUDGE DUVAL

MAG. WILKINSON

AFFIDAVIT

STATE OF LOUISIANA

PARISH OF EAST BATON ROUGE

BEFORE ME, the undersigned authority, personally came and appeared:

RHAOUL A. GUILLAUME, P.E.

who after being duly sworn did depose and say:

1.

I am the president of GOTECH, Inc., domiciled in East Baton Rouge Parish,
Louisiana; I have been president since 1981.

I am a licensed professional engineer, licensed in Louisiana since 1982.

I am providing this affidavit for use with a motion for summary judgment on
behalf of GOTECH, Inc. in the consolidated cases known as the Katrina Canal
Breach Litigation.

Iam familiar with the facts described below by virtue of my involvement in the
engineering work on the projects described below. My involvement was as
contract administrator, which included, among other duties, negotiating
GOTECH’s contracts and overseeing the maintenance of GOTECH’s invoice files
in connection with the projects described below.

Page 1 of 3

Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 2 of 37

Industrial Canal, 17" Street Canal, and MRGO

5.

Neither GOTECH nor any of its personnel had anything to do with the design,
construction, construction administration or inspection of any construction of any
floodwalls or levees which failed along the 17" Street Canal, the Industrial Canal
and the Orleans Avenue Canal in New Orleans during Hurricane Katrina.

Additionally, neither GOTECH nor its personnel was involved in the design or
construction of the MRGO.

London Avenue Canal

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13.

In 1993, GOTECH, Inc. agreed to provide surveying and I-Wall design services
(within the guidelines of the USACE) as a sub-consultant to Burk-Kleinpeter, Inc.
(BKJ) on the project known as London Avenue Canal Floodwall Improvements
Contract 3. A draft of the Agreement between BKI and GOTECH (Draft
Contract) is attached as Exhibit 1. It is believed the original Agreement was
signed by both parties at the time of the project, but GOTECH does not currently

' have a copy of the signed Agreement.

GOTECH began work on this project in January, 1993 as shown by its invoice
file, in particular, Invoice No. 1. A copy of GOTECH’s invoice file on this
project is attached as Exhibit 2, in globo.

GOTECH completed its design and surveying work on the project by November,
1993, as shown by Invoice No. 6 showing 100% of work completed. See Exhibit
2.

The Agreement between GOTECH and BKI specifically stated “...construction
administration services and resident inspection services are not required of
[GOTECH] unless the US Army Corps of Engineers authorizes the OWNER
[Orleans Levee Board] to perform these services.” See Exhibit 1, p. 2 of 6.

BKI did not request that GOTECH provide construction administration services
or resident inspection services for this project.

GOTECH did not provide construction administration services or resident
inspection services for this project.

GOTECH did not request payment for construction administration services or
resident inspection services for this project.

Page 2 of 3

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Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 3 of 37

14. Neither GOTECH nor any of its personnel provided any other design or surveying
services on any other London Avenue Canal project other than those described

Wheater A Mulder

RHAOUL A. GUILLAUME, PE.

SWORN TO AND SUBSCRIBED Before Me, this 28" day of July, 2006.

ADRIAN G. NADEAU
LSBA #28169
Notary Public

State of Louisiana
My Commission Expires at Death

Rho 438059 Pleadings AT dovit-Guiliaunn. apd Page 3 of 3
Case 2:05-cv-04182-SRD-JCW2dsoecument 850-7 Filed 08/03/06 Page 4 of 37

AGREEMENT

THIS AGREEMENT is made this day of , 1993, by and
between Burk - Kleinpeter, Inc. (BKD), 4176 Canal Street, New Orleans,
Louisiana, hereinafter referred to as CONSULTANT, and Gotech, Inc.,
hereinafter referred to as SUBCONSULTANT. :

WHEREAS, the CONSULTANT has entered into an Agreement with
the Board of Commissioners Orleans Levee District, hereinafter referred to
as OWNER, to prepare Contract Plans for London Avenue Canal Floodwall
Improvements Contract 3 , between Mirabeau Ave and Leon C. Simon
Bivd., hereinafter referred to as the Project, and

WHEREAS, a copy of said Agreement dated December 26, 1984, and
Amendment Letter dated January 4, 1993, are attached hereto and made a
part hereof, and the SUBCONSULTANT is aware of their terms and
provisions, and

WHEREAS, the CONSULTANT desires to employ the
SUBCONSULTANT for the purpose of performing a portion of the services
required of the CONSULTANT, and the SUBCONSULTANT is agreeable to
undertaking the services under conditions and for fees satisfactory to the
CONSULTANT, and

WHEREAS, the SUBCONSULTANT is acceptable to the OWNER,

NOW, THEREFORE, for and in consideration of the mutual
covenants hereinafter stipulated to be kept and performed, it is apreed
between the parties hereto as follows:

ARTICLE I - SCOPE OF WORK
SECTION 1

The CONSULTANT hereby employs and retains the
SUBCONSULTANT who agrees to proceed, in accordance with
authorization given by the OWNER, with all professional services necessary
to the performance, in proper sequence in the times specified, of the items
of work associated with the Contract 3 services outlined in the Agreement
for the London Avenue Canal Floodwall Improvements, to include
preliminary and final design. Professional services to be completed by the
SUBCONSULTANT shall include, but not be limited to, Engineering
services as specified herein as follows:

Gotech 0002
1 of 6
Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 5 of 37

EXHIBIT "A"
SCOPE OF SERVICES

YING AND I- L I

1. I-Wall design, including preparation of plans and specifications, for
the following features of the London Ave. Canal Floodwall:

I-Wall plans and specifications for the West side of the London
Ave Canal between Mirabeau Ave and Robert E Lee Blvd. and
the East side of the London Ave. Canal between Robert E. Lee
and Leon C, Simon Blvd. including utility relocations,
construction servitudes and alli necessary details for
construction of proposed I-Wall within limits specified.

2. Topographic and Right-of-Way surveys as required for the limits of
the London Avenue Canal Floodwall Contract 3 between Mirabeau
Ave and Leon C. Simon Blvd. on both the east and west side of the
canal.

3. All London Ave. Canal Floodwall improvements to be designed by
Gotech, Inc. will be incorporated, by BKI, into one (1) construction
contract for implementation.

4, All plan preparation shall be in accordance with the U S Army Corps
of Engineers drafting standards with final plans in Microstation P C
Intergraph drawing file format. Construction specifications will be
submitted in PC Write wordprocessor format.

5. SUBCONSULTANT shall be available for monthly coordination
meetings with the OWNER and the U S Army Corps of Engineers.

6. All engineering calculations and computer output prepared by
. SUBCONSULTANT shall be available for review by the OWNER and
the U S Army Corps of Engineers at times of submittals.

7. Four submittals shall be required; preliminary plans (35%), design
progress (65%), draft final plans (95%) and final plans (100%).

8. SUBCONSULTANT shall stamp, date and sign all plans and
specifications prepared by SUBCONSULTANT.

. EXCLUSIONS :

Bidding services, construction administration services and resident
inspection services are not required of the SUBCONSULTANT unless the
U $8 Army Corps of Engineers authorizes the OWNER to perform these
services.

2 of 6
Gotech 0003
Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 6 of 37

The SUBCONSULTANT shall be responsible for completion of all
services related to the above items in accordance with the applicable
requirements outlined in the agreement between the CONSULTANT and
the OWNER. Final plans and specifications prepared by the
SUBCONSULTANT shail be complete in every detail for bidding and
construction and in conformance with format agreed to by the
CONSULTANT and OWNER. .

SECTION 2 - OBLIGATION OF Cc INSULTANT TO SUBCONSULTANT

In connection with this work, the CONSULTANT shall complete ail
- work required in the Agreement with the OWNER for the Project, with the
exception of the work described above to be performed by
SUBCONSULTANT. The CONSULTANT shall furnish such completed
work as is necessary for completion of the work assigned herein to the
SUBCONSULTANT. The CONSULTANT will incorporate plans and
specifications prepared by the SUBCONSULTANT with similar documents
prepared by the CONSULTANT into one plan assembly and specification
booklet for bidding and construction for the Project by the OWNER.

Monthly Progress Reports will be submitted to the CONSULTANT by
the SUBCONSULTANT beginning on the 20th day of the first complete
month occurring after date of notice to proceed. These reports will indicate
progress to date in a form acceptable to the CONSULTANT and the
OWNER. Also a narrative of work accomplished for each phase of work
shall be included and any delays or work stoppage for the month shall be
reported. Progress indicated by these reports shall be incorporated into the
monthly reports to be completed by the CONSULTANT and submitted on a
monthly basis to the OWNER.

SECTION 1

A. The SUBCONSULTANT agrees to start work on the
professional services outlined herein within ten (10) days after
receipt of notice to proceed from the OWNER and the
CONSULTANT.

B. All work included in this agreement, shall be completed within
the time frames specified in the agreement between the
OWNER and CONSULTANT. Submittals shall be made in a

3 of 6 Gotech 0004
Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 7 of 37

timely manner and shall allow for review time by
CONSULTANT prior to formal submittal to the OWNER.

C. In case the OWNER deems it advisable or necessary in the
execution of the work to make any alterations which will
increase or decrease the scope of work outlined in the
Agreement between the OWNER and CONSULTANT for this

- project resulting in an adjustment of the time limit specified
therein, the time specified in “B” above shall be adjusted
accordingly.

ARTICLE II - PAYMENT

SECTION 1

A. For services performed by the SUBCONSULTANT under this
Agreement in completion of work contemplated under
ARTICLE I, and as full and complete compensation therefor,
including all expenditures made and all expenses incurred by
the SUBCONSULTANT in connection with this Agreement,
except as otherwise expressly provided herein, subject to and
in conformity with all provisions of Agreement, the
CONSULTANT will pay the SUBCONSULTANT as follows:

B. 1. For preliminary design phase services, a fee amount
equal to $60,465.
2, For final design phase services, a fee amount equal to
$90,700

3. For Right-of-Way surveys a fee amount equal to $90,850.

C. For supplemental services, authorized in writing, beyond those
services outlined in Article I, Section 1, the fee shall be in the
form of a lump sum for such additional work which is
mutually agreeable to the CONSULTANT and
SUBCONSULTANT.

SECTION 2

A. Partial Payment to the SUBCONSULTANT shall be made not
more often than monthly. Such payment shall be based on an
amount earned to date of invoice in accordance with the
provisions of the Agreement between the CONSULTANT and.
the OWNER, and subject to submission by the
SUBCONSULTANT of such vouchers or invoices and evidence
of performance as the CONSULTANT may deem necessary.

4 of 6 gotech go05
Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 8 of 37

The SUBCONSULTANT will correlate and coordinate his
accounting to comply with the current audit system of the
OWNER and applicable Federal Acquisition Regulations.
Invoices of SUBCONSULTANT will be incorporated into
invoices submitted by the CONSULTANT to the OWNER for
approval and payment. Payment to the SUBCONSULTANT
will be made by the CONSULTANT within ten (10) days of
receipt of payment by the CONSULTANT from the OWNER.
The SUBCONSULTANT will be required to submit monthly
progress reports regardless of whether or not he submits an
invoice and whether or not any work is performed during this
month.

SECTION 3

The acceptance by the SUBCONSULTANT of the final payment shall
constitute and operate as a release to the CONSULTANT for all claims and
ability to the SUBCONSULTANT, his representatives and assigns for any
and all things done, furnished or relating to the services rendered by the
SUBCONSULTANT under or in connection with the Agreement, or any
part thereof, provided that no unpaid invoices exist because of extra work
required at the request of the CONSULTANT.

SECTION 4

The SUBCONSULTANT specifically agrees that this agreement shall
be deemed executory only to the extent of monies available to the
CONSULTANT from the OWNER and no liability shall be incurred by the
CONSULTANT to the SUBCONSULTANT for any reasons for work
completed under this Agreement beyond the monies available from the
OWNER for this purpose.

CONTROL
All work by the SUBCONSULTANT shall be done in a manner

satisfactory to the CONSULTANT and in accordance with the established
policies, practices, and procedures of the OWNER.

RESPONSIBILITIES OF SUBCONSULTANT

SUBCONSULTANT agrees to indemnify and hold harmless the
CONSULTANT from all claims or liabilities arising solely from the

5 of 6 Gotech 0006
Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 9 of 37

SUBCONSULTANT'S faulty, improper or negligent performance of its
duties under the Agreement.

CONSULTANT likewise agrees to indemnify and hold harmless the
SUBCONSULTANT from all claims or liabilities arising solely from
CONSULTANT'S failure to perform properly its part of the Agreement.

These reciprocal obligations of indemnity shall include the cost of
-defense, but only to the extent that the claim is based solely on alleged fault
on the part of the indemnitor; to the extent that there are claims of joint
fault by both CONSULTANT and SUBCONSULTANT, the parties shall bear
their own costs of defense. -

The SUBCONSULTANT does further agree to carry Workers’
Compensation insurance in accordance with statutory requirements,
public liability and property damage insurance in the amount of not less
than $100,000.00 and $500,000.00 (as usually applied) in a policy or policies
which shall specifically cover general liability, as well as motor vehicle

liability, and professional liability insurance in an amount of not less than
$1,000,000, without expense to the CONSULTANT.

IN WITNESS WHEREOF, the parties hereto have made and executed
this Agreement in duplicate as of the day and year first above written.

ATTEST;: BURK - KLEINPETER, INC.

Michael G. Jackson P. E.
Senior Vice President

ATTEST: GOTECH, INC.

~ Rhaoul A. Guillaume P. E.
President _

Gotech 0007
6 of 6
Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 10 of 37

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DETACH AND RETAIN THIS STATEMENT

THE ATTACHED CHECK IS IN PAYMENT OF ITEMS DESCRIBED BELOW.
BURK-KLEINPETER, INC. Jn-NOT CORRECT PLEASE NOTIFY US PROMPTLY. NO RECEIPT DESIGED.

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PLANNERS, ENVIRONMENTAL SCIENTISTS 3, DELUXE FORM WVC-3 V:7 a4

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- BURK-KLEINPETER, INC.

ENGINEERS, ARCHITECTS
" PLANNERS, , ENVIRONMENTAL SCIENTISTS 4844 Jefferson Guaranty Bank

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NEW GRLEANS, LOUISIANA 70119-5994 P.O, Box 8527 « Metatrie, LA 70044 P4189 7654

P.O. BOX 19087, NEW-ORLEANS, LA 70179-0087
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BURK-KLEINPETER, INC.
ENGINEERS, ARCHITECTS

4176 CANAL STREET
NEW ORLEANS, LOUISIANA 70119-5994 P.O, Box 8527 « Metairie, LA 70011
BOX 19087, NEW'ORLEANS, LA 70179-0087 :

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PLANNERS, ENVIRONMENTAL SCIENTISTS

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—GOTECH, INC.

Consulting Engineers

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' 8383 Bluebonnet Boulevard
Baton Rouge, Louisiana 70810 O2s\
Tel. (504) 766-5358 of fe be
RHAOUL A. GUILLAUME, P.E. Fax (504) 766-5879 \ Malling Address:
President P.O. Box 82007

Baton Rouge, Louisiana 70884

November 17, 1993

Mr. J. W. "Bill" Giardina, Jr., P.E.
Vice President

Burk-Kleinpeter, Inc.

4176 Canal Street

New Orleans, Louisiana 70119-5994

RE: London Avenue Canal Contract No. 3
Mirabeau Avenue to Leon C. Simon Avenue

Dear Mr. Giardina:
Attached is our request for payment number 6 for the referenced
project. This invoice represents the completed project and is in

the amount of $29,945.00.

If there are any questions on this information, feel free to call
us at your convenience.

Sincerely, .

Bruce K. Dyson, P.E., P.u.S.
Project Engineer

BED: stm

Attachment

Gotech 0011
Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 14 of 37°

7

INVOICE
GOTECH, INC.

8383 Bluebonnet Blvd.
‘Baton Rouge, LA 70810

RE: London Avenue Canal Floodwall
Contract No. 3
BRI 8407-07
GOTECH, Inc. Project No. 02-92-231

Request for Payment No. 6
(Services provided from September 1, 1993 to November 17, 1993)

Total Project Breakdown:

- Preliminary Design Phase Services ...... . $ 60,465.00

~ Final Design Phase Services ....... . . . $117,900.00

— Right-of-Way Survey Services ........ . . $63,650.00

TOTAL PROJECT FREES = $242,015.00
Total Earned to Date (100% of. Preliminary Design Phase) $ 60,465.00
(100% of Final Design Phase Services) $117,900.00
(100% of Survey Services) $$ 63,650.00
Less Amount Previously Invoiced $212,070.00
00

Amount Due This Invoice #$ 29,945,

FB cee. Dye

Bruce kK. Dyson, P.E., P.L.S.
Project Engineer

BKD: stm

Gotech 0042
Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 15 of 37

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SOTECAL ING.

8383 Bluebonnet Boulevard
Baton Rouge, Louisiana 70810

Tel. (504) 766-5358

RHAOUL A. GUILLAUME, P.E. Fax (504) 766-5879 Mailing Address:

President P.O. Box 82007
. Baton Rouge, Louisiana 70884

August 30, 1993

Mr. J. W. "Bill" Giardina, Jr., P.E.
Vice President

Burk—Kleinpeter, Inc.

4176 Canal Street ¥

New Orleans, Louisiana 70119-5994

RE: London Avenue Canal Contract No. 5

Dear Mr. Giardina:

As discussed, attached is our request for payment number 5 for
-the referenced project. This invoice represents work performed

on the final design phase is in the amount of $9,077.50.

If there are any questions on this information, feel free to call
us at your convenience.

Sincerely,

Fete Dy Fam __

Bruce K. Dyson, P.E., P.b.S.
Project Engineer

BKD: stm

Attachment

Gotech 0013
Case 2:05-ev-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 16 of 37

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1 INVOICE
GOTECH, INC.
8383 Bluebonnet Blvd.
Baton Rouge, LA 70810

RE: London Avenue Canal Floodwall
Contract No. 3
BEI 8407~-07
GOTECH, Inc. Project No. 02-92-231

Request for Payment No. 5
(Services provided from August 1, 1993 to August 31, 1993)

Total Project Breakdown: |

- Preliminary Design Phase Services ..... . . $ 60,465.00
—- Final Design Phase Seryices ....... . . . $117,900.00
— Right-of-Way Survey Services ....... .. . $63,650.00
TOTAL PROJECT FEES = $242,015.00
Total Earned to Date (100% of Preliminary Design Phase) $ 60,465.00
(80% of Final Design Phase Services) $ 94,320.00
(90% of Survey Services) S 57,285.00
Less Amount Previously Invoiced $202,992.50
Amount Due This Invoice $ 9,077.50 .

SPs gmc Dy tn —
Bruce K. Dyson, P.E., P.L.S.
Project Engineer

 BKD: stm

Gotech 0014

Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 17 of 37

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BURK-KLEINPETER, INC., NEW ORLEANS, ?~

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GOTECH,ING.

Consulting Engineers

8383 Bluebonnet Boulevard
Baton Rouge, Louisiana 70810

Tel. (504) 766-5358

RHAOUL A. GUILLAUME, P.E. Fax (504) 766-5879 Mailing Address:
President P.O. Box 82007

Baton Rouge, Louisiana 70884

August 3, 1993

Mr. J. W. "Bill" Giardina, Jr., P.E.

Vice President

Burk-Kleinpeter, Inc.

4176 Canal Street

New Orleans, Louisiana 70119-5994

RE: London Avenue Canal Contract No. 4

Dear Mr. Giardina:

As discussed, attached is our request for payment number 4 for
the referenced project. This invoice represents work performed
on the final design phase is in the amount of $11,790.00.

If there are any questions on this information, feel free to call
us at your convenience.

Sincerely,

BD tee oD on
— A

Bruce K. Dyson, P.E., P.L.S.
Project Engineer

BRD:stm

Attachment

Gotech 0017
Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 20 of 37

INVOICE
GOTECH, INC.

8383 Bluebonnet Blvd.
Baton Rouge, LA 70810

RE: London Avenue Canal Fleodwall
Contract No. 3
BKI 8407-07
GOTECH, Inc. Project No. 02-92-231

Request for Payment No. 4
(Services provided from July 1, 1993 to Juiy 31, 1993)

Total Project Breakdown:

Preliminary Design Phase Services ..... . . $ 60,465.00
- Final Design Phase Services ......... . . $117,900.00
— Right-of-Way Survey Services ......... . $63,650.00
TOTAL PROJECT FEES = $242,015.00
Total Earned to Date (100% of Preliminary Design Phase) $ 60,465.00
(75% of Final Design Phase Services) $ 88,425.00
(85% of Survey Services) $ 54,102.50
Less Amount Previously Invoiced $191,202.50
Amount Due This Invoice $ 11,790.00

Bruce K. Dyson, P.E., P.L.S.
Project Engineer

BED: stm

Gotech 0018

Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 21 of 37

BURK-KLEINPETER, INC., NEW ORLEANS, LA

‘

VENGOR ‘GOTECHs INC
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BURK-#LEINPELER, LAK, INEW ORLEANS, LA.
Case 2:05-cv-04182- SRD- JCW

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3334

BURK-KLEINPETER, INC:

ENGINEERS, ARCHITECTS, PLANNERS, ENVIRONMENTAL SCIENTISTS

41764 CANAL ST. © NEW ORLEANS, LOUISIANA 70119-5994
P.O, BOX 19087 « NEW ORLEANS, LOUISIANA 70179-0087

GOTECHs INC.

TO THE CONSULTING ENGINEERS
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GOTECH, INC.

Consulting Engineers

8383 Bluebonnet Boulevard
Baton Rouge, Louisiana 70810

Tel. (504) 766-5358

RHAOU L- A. GUILLAUME, P_E. Fax (504) 766-5879 Mailing Address:

President P.O. Box 82007
Baton Rouge, Louisiana 70884

wAugust 3, 1993

dg 6 8

Mr. J. W. “Bill” Giardina, Jr., P.E.
VWice President

Burk-Kleinpeter, Inc.

4176 Canal Street

New Orleans, Louisiana 70119-5994

RE: London Avenue Canal Contract No. 4

Dear Mr. Giardina:

AS discussed, attached is our request for payment number 4 for
the referenced project. This invoice represents work performed
on the final design phase is in the amount of $11,790.00.

Tf there are any questions on this information, feel free to call
us at your convenience. |

&
Sincerely,

DP ater Daim

Bruce K. Dyson, P.E., P.L.S.
Project Engineer

BRD :stm

Attachment

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Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 24 of 37

INVOICE
GOTECH, INC.

8383 Bluebonnet Blvd.
Baton Rouge, LA 70810

RE: London Avenue Canal Floodwall
Contract No. 3
BKI 8407-07
GOTECH, Inc. Project No. 02—92-231

Request for Payment No. 4
(Services provided from July..1, 1993 to July 31, 1993)

Total Project Breakdown:

— Preliminary Design Phase Services ..... . . $ 60,465.00

~ Final Design Phase Services ......+-+.+.-. $117,900.00

— Right-of-Way Survey Services ....... . . . $63,650.00

TOTAL PROJECT FEES = | $242,015.00
Total Earned to Date (100% of Preliminary Design Phase) $ 60,465.00
(75% of Final Design Phase Services) $ 88,425.00
(85% of Survey Services) $ 54,102.50
Less Amount Previously Invoiced $191,202.50
Amount Due This Invoice $ 11,790.00

Baer Dy we
Bruce K. Dyson, P.E., P.L.S.
Project Engineer

BED: stm

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BURK-KLEINPETER, INC., NEW ORLEANS, LA. _

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ENGINEERS, ARCHITECTS, PLANNERS, ENVIRONMENTAL SCIENTISTS 654 ,

4176 CANAL ST, © NEW ORLEANS, LOUISIANA 70119-5994 JEFFERSON GUARANTY BANK 5;

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GOTECHs INC.
TO THE CONSULTING ENGINEERS | Bu flO
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Consulting Engineers gar

8383 Biuebonnet Boulevard
Baton Rouge, Louisiana 70810

Tel. (504) 766-5358

RHAOUL A. GUILLAUME, P.E. Fax (504) 766-5879 Mailing Address:
President P.O. Box 82007

Baton Rouge, Louisiana 70884

May 26, 1993

Mr. J. W. "Bill' Giardina, Jr., P.E.
Vice President

Burk—-Kleinpeter, inc.

4176 Canal Street

New Orleans, Louisiana 70179-5994

Re: London Ave. Canal Contract No. 3

Dear Mr. Giardina:

As discussed, attached is our request for payment number 2 for the
veferenced project. This invoice represents work performed on the
final design phase and survey phase of the project and is in the
amount of $101,262.50.

If there are any questions on this information, feel free to call
us at your convenience.

Sincerely,

‘Bruce K. Dyson, P.E., P.L.S.
Project Engineer

BKD: mal

Case 2:05-Cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 28 of 37

GOTECH, INC.
INVOICE

RE: London Avenue Canal Floodwall
Contract No. 3
BKI 8407-07
GOTECH, Inc. Protect No. 02-92-231

Request for Payment No. 2
(Services provided from April 1, 1993 to May 31, 1993)

Total Project Breakdown:

- Preliminary Design Phase Services .. . . $60,465.00

* Pinal Design Phase Services ..... . $117,900.00

* Right-of-Way Survey Services ..... . . $63,650.00

TOTAL PROJECT FEES $242,015.00
Total Earned to Date (100% of Preliminary Design Phase) $ 60,465.00
(40% of Final Design Phase Services) $ 47,160.00
(85% of Survey Services) $ 54,102.50
Less Amount Previously Invoiced $ 60,465.00
Amount Due This Invoice $101, 262.50

Bruce K. Dyson, P.E., P.L.S.
Project Engineer

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GOTECH, INC,

Consulting Engineers

8383 Bluebonnet Boulevard
Baton . Rouge, Louisiana 70810

: "Tel. (504) 766-5950

RHAOUL A. GUILLAUME, PE, , “Fax (504) 766-5879 Malling Address:
President P.O. Bax 82007
Baton Rouge, Louisiang 70884
April 12, 1993
Mr. g. W. "Bil" lardina Jr., Pop
Vice President
tye Kleinpeter, Inc

4176 Canal Street

New Orleans, Louisiana 70119-5994

Re

Dear Mr, Giardina:

As discusseg,

attache 18 our Tequest for p yment number 7 for the
referenced Project. This invoice Teprese ts work Performeg On the
Prelimina design Phase Of the Project and is in th
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ice K Dyson, E., P.L.s.
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Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 31 of 37

}

GOTECH, INC.
INVOICE

RE: London Avenue Canal Floodwall
Contract No. 3
BKI 8407-07
GOTECH, Inc. Project No. 02—92-231

Request for Payment No. 1

(Services provided from January 13, 1993 to March 31, 1993)

Total Project Breakdown:

* Preliminary Design Phase Services........... $60,465.00
8 Final Design Phase Services..............4- $117,900.00
° Right-of-Way Survey Services.....--.-....---. $63,650.00
TOTAL PROJECT FEES ~ $242,015.00

Total Earned to Date (100% of Preliminary Design Phase) =
“Amount Previously Invoiced =
Amount Due This Invoice =

TR ee Daye
Bruce K. Dyson, P.E., P.L.S.
Project Engineer

s_
$60,465

$60,465
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Gotech 0029

Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 32 of 37

BURK-KLEINPETER, INC., NEW ORLEANS “4,

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VENDOR:

GOTECHs INC.
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Case 2:05-cv-04182-SRD

JCW : Document 850-7 Filed,08/03/06 Page 33 of 37

BURK-KLEINPETER, INC,, NEW ORLEANS, LA.

- VENDOR IGOTECH+s INCs-

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Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 34 of 37

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES CIVIL ACTION NO. 05-4182
CONSOLIDATED LITIGATION
SECTION “Kk”
MAGISTRATE (2)
PERTAINS TO: 05-4181 O’Dwyer
05-6073 Kirsch JUDGE DUVAL
MAG. WILKINSON

AFFIDAVIT

STATE OF LOUISIANA

PARISH OF EAST BATON ROUGE

BEFORE ME, the undersigned authority, personally came and appeared:

BRUCE K. DYSON, P.E., P.LS.

who after being duly sworn did depose and say:

1.

2.

Jam an employee of GOTECH, Inc. and have been an employee since 1992.

Tam a licensed professional engineer, licensed in Louisiana since 1982. Iam also
a licensed professional land surveyor, licensed in Louisiana since 1992.

Iam providing this affidavit for use with a motion for summary judgment on behalf
of GOTECH, Inc. in the consolidated cases known as the Katrina Canal Breach
Litigation.

Tam familiar with the facts described below by virtue of my involvement in the
engineering work on the projects described below. My involvement was as project
manger for GOTECH. As project manger, I coordinated the preparation of the
drawings and specifications for the levees and floodwalls on the west bank of the
London Avenue Canal in accordance with the USACE’s guidelines.

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Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 35 of 37

Industrial Canal, 17" Street Canal, and MRGO

5.

Neither GOTECH nor any of its personnel had anything to do with the design,
construction, construction administration or inspection of any construction of any
floodwalls or levees which failed along the 17" Street Canal, the Industrial Canal
and Orleans Avenue Canal in New Orleans during Hurricane Katrina.

Additionally, neither GOTECH nor its personnel was involved in the design or
construction of the MRGO.

London Avenue Canal

qe

10.

11.

12.

13.

In 1993, GOTECH, Inc. agreed to provide surveying and I-Wall design services
(within the guidelines of the USACE) as a sub-consultant to Burk-Kleinpeter, Inc.
(BKD on the project known as London Avenue Canal Floodwall Improvements
Contract 3. A draft of the Agreement between BKI and GOTECH (Draft Contract)
is attached as Exhibit 1 to the Affidavit of Rhaoul A. Guillaume of GOTECH.
(Guillaume Affidavit) It is believed the original Agreement was signed by both
parties at the time of the project, but GOTECH does not currently have a copy of
the signed Agreement.

GOTECH began work on this project in January, 1993 as shown by its invoice file,
in particular, Invoice No. 1. A copy of GOTECH’s invoice file on this project is
attached as Exhibit 2, in globo, to the Guillaume Affidavit,

GOTECH completed its design and surveying work on the project by November,
1993, as shown by Invoice No. 6 showing 100% of work completed. See Exhibit
2,

The Agreement between GOTECH and BKI specifically stated “...construction
administration services and resident inspection services are not required of
[GOTECH] unless the US Army Corps of Engineers authorizes the OWNER
[Orleans Levee Board] to perform these services.” See Exhibit 1, p. 2 of 6 of the
Guillaume Affidavit.

BKI did not request that GOTECH provide construction administration services or
resident inspection services for this project.

GOTECH did not provide construction administration services or resident
inspection services for this project.

GOTECH did not request payment for construction administration services or

SARhondal2488-009'Plea dings Atfidavit - Dosun ssp
Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 36 of 37

resident inspection services for this project.

14. | Neither GOTECH nor any of its personnel provided any other design or surveying
services on any other London Avenue Canal project other than those described

above,
Pie oo

BRUCE K. DYSON, P.E., P.L.S.

SWORN TO AND ” ty, Before Me, this 28" day of July, 2006.

ADRIAN G. NADEAU
LSBA #28169
Notary Public
State of Louisiana
My. Commission Expires at Death

BARhondo 12488-0359 'P loadings Aifidavit - Dyson wel
Case 2:05-cv-04182-SRD-JCW Document 850-7 Filed 08/03/06 Page 37 of 37

Richard 1. Durrett, P.E., P.L.S, Timothy F. Allen, P.L,S.
Chairman

Kenneth L. MeManis, Ph_D., P.E., P.L.S. James D, Garber, Ph.D., P. E.

Vice Chainnan

Joseph C, Wink, Jr,, PLE.
Treasurer

Kerry M. Hawkins, P.E.
Secretary

Rhaoul A, Guillaume, PE.
Ali M. Mustapha, P.E,
Mark H. Segura, P.E,
Mark A. Jusselin, P.E.

Donna D. Sentetl
Executive Secretary

C. L. Jack Stelly, P.L.S.

LOUISIANA PROFESSIONAL ENGINEERING AND LAND SURVEYING BOARD

As of 8/3/2006, the Louisiana Professional Engineering and Land
Surveying Board has the following information on file:

Name: Gotech, Inc.
Address: 8383 Bluebonnet Blvd.

Baton Rouge, LA 70810-2826
License/Certification Class: ¢- engineering rim
License No: EF.0000377
Discipline(s):

Status: Active
Expiration Date: 9/30/2007

License/Certification Classes:
PE = Professional Engineer PLS = Professional Land Surveyor
LS? = Land Surveyor Intern EIT = Engineer Intern

PE Discipline Codes

JAG Agricultural ME iMechanical
JAR Architectural MI Mining or Mineral
1CH [Chemical MT _|Metallurgical

: CE Civil MU = jManufacturing

ics . Control Systems NV Naval Architecture & Marine

EE Electrical & Computer NU = 3Nuclear

‘EV {Environmental (ST /Structural *

iFP Fire Protection [PT Petroleum

: IE 4Industrial

* An engineer that has passed the Structural I exam is listed as a Civil Engineer. An
Jengineer that has passed both the Structural I and II exams is listed as Structural (ST)
jand a Civil (CE) Engineer,

9643 Brookline Avenue Suite 121 * Baton Rouge, Louisiana 70809-1433 + (225) 925-6291 + Fax (225) 925-6292 « w

